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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

      Civil Action No. 23-cv-01610-DDD-MDB
      _______________________________________________________

      DEPOSITION OF SUSAN MARGARET DeHERRERA
      January 23, 2025
      _______________________________________________________

      SUSAN DeHERRERA AND JOSE GUERRERO,

      Plaintiffs,

      vs.

      HUERFANO COUNTY, a municipality, JEFF BENSMAN, in his
      individual capacity, TERRY SANDOVAL, in his individual
      capacity, and SAM JENSEN, in his individual capacity,

      Defendants.
      _______________________________________________________


                  PURSUANT TO NOTICE, the deposition of SUSAN

      DeHERRERA, called for examination by the Defendants

      herein, was taken remotely, commencing at 9:14 a.m., on

      Thursday, January 23, 2025 before K. Michelle Dittmer,

      Registered Professional Reporter and Notary Public in

      and for the State of Colorado.




                                 EXHIBIT C
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  1   the video.

  2                    Do you see that?

  3               A.   Yes.

  4               Q.   And it looks like this screenshot is a bit

  5   to the right of the last exhibit.

  6                    Do you see that?

  7               A.   Yes.

  8               Q.   We can still see parts of both of the

  9   Water Works Plus trucks.

 10                    Do you see that?

 11               A.   Yes.

 12               Q.   We can still see Mr. Sandoval's truck, the

 13   truck he was driving; it's now in the center of the

 14   frame.

 15                    Do you see that?

 16               A.   Yes.

 17               Q.   And then to the right of Mr. Sandoval's

 18   truck, there is a portion of a pile of dirt.

 19                    Do you see that?

 20               A.   Yes.

 21               Q.   What was that pile of dirt?

 22               A.   That was where we were -- it was the dirt

 23   that Joe had dug up.       He -- he had to dig up all the dirt

 24   for -- to -- so they can get in to get the well down

 25   below, get to the well down below.
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  1               Q.   And what is the blue -- is that a blue

  2   barrel?

  3               A.   That is the cistern that's --

  4               Q.   And --

  5               A.   -- going into the well.

  6               Q.   And do you know why it's above ground in

  7   this photo?

  8               A.   Because they haven't -- they hadn't put it

  9   in yet.   They were just tapping into the pump first.

 10               Q.   That day, July 13, 2021, did they complete

 11   the installation of the cistern?

 12               A.   Pardon me?

 13               Q.   Did the Water Works Plus guys put the

 14   cistern in that day?

 15               A.   Yes.      I don't know -- I don't remember

 16   what was done -- see, because they did a pump pass, they

 17   put the cistern in, they connected the -- the -- the

 18   pump; and I don't know what -- in what order they did it.

 19                    I just --

 20               Q.   Understood.

 21               A.   -- was -- at the time, we knew they were

 22   going to tap into the water.        We were excited about it,

 23   and so we were there when they did that.

 24                    So I don't know exactly what they were

 25   doing at the time or when everything was put in.              I know
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  1   it was all done during that time.          The -- for those

  2   couple days, they were -- they were doing a couple

  3   different things, so I don't know what.

  4                    I know at one point, the gravel guy came

  5   and dropped off some gravel, too.          You know, there were a

  6   lot of things going on.      There was -- and they were

  7   installing the -- the piping to take the water up to the

  8   ridge.

  9                    So there was a lot of things going on, so

 10   I don't know in what order they all were -- happened.

 11               Q.   Understood.

 12                    But at least as of this photo, they had

 13   not yet put the cistern into the ground and completed

 14   installation of the cistern, correct?

 15               A.   Let me think how that went.

 16               Q.   Well, I mean, just because we can see it

 17   above ground, right?

 18               A.   Well, I'm seeing -- what I'm thinking

 19   about is that we were supposed to get a cistern

 20   delivered, and I'm thinking, did they deliver it?              It's,

 21   like, no.    Because I thought maybe we had two cisterns

 22   there.   It's like, no, we had to go pick up the cistern

 23   for them to -- to put it in.

 24                    So yes, that's -- there's -- yes, that's

 25   it.
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  1                     I'm sorry.   I -- I just -- I remembered

  2   there was a whole thing with the cistern, that it was

  3   supposed to be delivered and it wasn't.          So I thought,

  4   did they deliver it and we had two cisterns?            I don't

  5   know.

  6                     But no, they didn't deliver it after all.

  7   We had to get -- pick up the other one.          Sorry, I just

  8   was trying to think through, back through.

  9               Q.    That's all right.

 10                     And then what is behind the cistern?          It

 11   looks like a sort of cream-colored camping trailer; is

 12   that right?

 13               A.    Yes.

 14               Q.    And is -- I can't tell from the photo, was

 15   it on blocks?

 16               A.    No.    We had a veteran who was working in

 17   Walsenburg.      He had family in Walsenburg and everything.

 18   He had an RV, and he asked us if we can -- he can have it

 19   there for a bit.     And he -- you know, he put stuff around

 20   it to keep it -- you know, because it was winter.             And

 21   so, yeah, he had it there.

 22               Q.    And so this camping trailer, y'all were

 23   storing for someone else; is that right?

 24               A.    Yes.

 25               Q.    And --
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  1               A.   He would come -- he would come there and

  2   do work there, you know, get his -- his tools and

  3   different things, too, and, you know, whatever.                We just

  4   let him do whatever he needed to.           We were just helping

  5   him out because he was -- he was having a hard time.

  6               Q.   And this camping trailer that's depicted

  7   here in Exhibit 9, it's the type of trailer that had to

  8   be hitched up to a Suburban or a truck, right?

  9               A.   Yes.

 10                    He actually helped us as well.               He was a

 11   reconnaissance guy, so we kind of had him helping to

 12   watch the property.        He was -- you know, we had animals

 13   and things, farm there, and he was -- he would just --

 14   because there were so many people that kept coming on the

 15   property, he was a benefit to us to have there because he

 16   would watch over everything.

 17                    We had -- I mean, we had people come in

 18   the middle of the night.       We had people all over.           It was

 19   crazy.    I think people thought that -- kind of like they

 20   owned this property or something, the way they treated

 21   us.

 22                    So he was -- he was a -- he was a big help

 23   for us.

 24               Q.   And this was the guy who's camping trailer

 25   was depicted in Exhibit 9?
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  1               A.   Yes.

  2               Q.   All right.    I'm now sharing screen for

  3   Exhibit 10.

  4                    Do you see that?

  5               A.   Yes.

  6               Q.   And Exhibit 10, the time stamp in red at

  7   the top is "17:39:49 GMT + 0."

  8                    Do you see that?

  9               A.   Yes.

 10               Q.   And it says at the bottom that it's a

 11   minute and 55 seconds into the video clip.

 12                    Do you see that?

 13               A.   Yes.

 14               Q.   And this is another view of both of the

 15   Water Works Plus trucks.

 16                    Do you see that?

 17               A.   Yes.

 18               Q.   And on the left-hand side, it looks like

 19   there's a portion of somebody in a blue shirt who's

 20   talking on the left-hand side.

 21                    Do you understand that to be Joe?

 22               A.   No.

 23               Q.   So do you know who this is on the

 24   left-hand side?

 25               A.   That's -- on the left, that little blue on
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  1               Q.   Understood.

  2                    And so this -- but this is a -- this beige

  3   and brown one is a camping trailer that is not

  4   self-propelled; is that right?

  5               A.   That's correct.

  6               Q.   And then the piles of dirt to the right of

  7   that, what are those piles of dirt?

  8               A.   That's where he -- Joe had dug up the dirt

  9   from the well beneath to get -- so that they could get to

 10   the well.

 11               Q.   And then a little bit in the background,

 12   just to the right of the hood-up Water Works Plus truck,

 13   I've highlighted a spool.

 14                    Do you see that?

 15               A.   Yes.

 16               Q.   What is that spool?        It's a big wooden

 17   spool.

 18               A.   It's -- it's, like, we just have spools

 19   there, you know, to -- to put things on, and I think

 20   maybe Joe put it there so that they can put their water

 21   on it or something.        I don't know.    But -- I don't know

 22   why it's there.

 23               Q.   But is that -- is that a spool that

 24   belongs to you and Joe and not to the Water Works Plus

 25   people?
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  1               Q.   Right.    In the deep background, we can

  2   kind of see the crane over here (indicating)?

  3               A.   Yes.

  4               Q.   On the left-hand side?

  5               A.   Uh-huh.

  6               Q.   Okay.     Back to Exhibit 25 for a second,

  7   just -- the time stamp was 9 minutes and 55 seconds,

  8   right?

  9               A.   Yes.

 10               Q.   And it was towards the end of the

 11   interview -- or the end of the time that Mr. Bensman's

 12   truck was parked on the subject property; is that right?

 13               A.   That's correct.

 14               Q.   So that means the total time Mr. Bensman's

 15   truck was parked on the subject property was less than

 16   ten minutes, correct?

 17               A.   I -- you know, I didn't keep track of all

 18   that, but it's just like -- because I -- I don't know

 19   when they drove up, you know, I don't know when that

 20   camera was taken or where he was at the time.               I don't

 21   know.

 22                    But his video might say it's ten minutes,

 23   but I'm not sure when it started and when it ended.

 24               Q.   Sure.

 25                    But if the total video clip that he's
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  1   parked -- shows him to be parked for less than ten

  2   minutes, I mean, everybody would have to take that as

  3   fact, right?

  4                    MR. MINSHALL:     Objection -- objection to

  5   form.

  6               A.   Yeah, I don't know -- I -- I said -- I

  7   mean, in -- in our video, I could tell you when he showed

  8   up and when he left -- or, actually, not even when he

  9   left.   I don't think we even had that on there.            So

 10   whatever time is on there until what I saw, which was the

 11   amount of time.

 12                    As far as this, I don't know where he was

 13   when that was taken and when it ended.

 14               Q.   (By Mr. Hegarty)    Right.

 15                    And so the video that you took, that's the

 16   one that was in Exhibit 5, which was 4 minutes and

 17   51 seconds; is that right?

 18               A.   Yes.

 19               Q.   Yeah.

 20                    9 minutes and 55 seconds, that's longer

 21   than 4 minutes and 55 seconds, right?

 22               A.   Yeah, it is.     Okay.

 23               Q.   Okay.     So apart from your attorney and

 24   Joe, with whom have you discussed the events of July 13,

 25   2021?
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  1   septic system.    That's -- that's how we recognize the

  2   name, but he was saying these names and he was saying --

  3   but he didn't have anything specific, what -- who was

  4   complaining.     He just asked if we knew her.

  5               Q.   So Mr. Sandoval was the one who mentioned

  6   Robin Sykes' name; is that right?

  7               A.   Yes.

  8               Q.   Would you agree that Mr. Sandoval was on

  9   your property for about the same length of time that

 10   Mr. Bensman was on the property on July 13, 2021?

 11               A.   Yes.

 12                    I'm sorry, I'm trying to think of the

 13   things that you're telling me.         I'm thinking, did I miss

 14   anything?    I don't know.

 15                    Okay.     Go ahead.

 16               Q.   Mr. Sandoval never threatened to use any

 17   physical force on either you or Mr. Guerrero, correct?

 18               A.   No, no, he didn't.

 19               Q.   He obviously never engaged in any force

 20   then, correct?

 21               A.   His threat was coming onto our property

 22   the way he did.    They came barreling on.        That was a

 23   threat in itself.

 24                    He --

 25               Q.   Well, my --
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  1   to Joe, you see in the video, it was -- it was like he

  2   was waiting for Terry.      When Terry got there, it was like

  3   he had all authority to do anything he wanted.               That's

  4   how it seemed.

  5               Q.   Right.    And you're just speculating,

  6   right?

  7               A.   Yeah, that's what I saw.

  8               Q.   So Mr. Sandoval never moved more than

  9   10 feet from his vehicle when he was on the property that

 10   day, July 13, 2021, correct?

 11               A.   That's -- I think.        I can't remember

 12   from -- I -- I can't -- I don't know where their

 13   positionings, how -- how -- I would have to look at the

 14   video again to see because I -- I can't say myself.

 15   It --

 16               Q.   Well --

 17               A.   -- was an emotional time, I can't think of

 18   all the -- how the distances were.

 19               Q.   He never approached your trailer, did he?

 20               A.   No.

 21               Q.   Never entered your trailer, did he?

 22               A.   No.

 23               Q.   In fact, wouldn't you agree that he never

 24   got within 100 feet of your trailer that day?

 25               A.   I don't know about 100 feet, but, you
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  1   know, our trailer wasn't that far from -- from the well.

  2               Q.   All right.

  3               A.   It was may- -- you know, a few feet from

  4   the well, and they were on the north side of it.             We were

  5   on the -- the trailer was on the south side of it.             So,

  6   yeah, there was -- there was a distance between us.             I

  7   don't know if it was 100 feet.

  8               Q.   Are you able to approximate the distance

  9   between the wellsite and the trailer that you and

 10   Mr. Guerrero were occupying that day?

 11               A.   The trailer was only like 10 feet away

 12   maybe, and then there was the well, there was their car.

 13   I don't know how far in that Terry came -- came.             I know

 14   he came up to us.     He was -- you know, and so I don't

 15   know.

 16               Q.   Well, you certainly were never concerned

 17   that Mr. Sandoval would enter the trailer that day,

 18   correct?

 19               A.   No, I didn't think either one of them

 20   would enter -- I didn't know what they were going to do,

 21   but I didn't think that would be an issue.

 22                    But I didn't think his -- him being there

 23   was -- would have been an issue.       He's the building

 24   inspector, what is he doing there?

 25               Q.   Mr. Sandoval didn't damage your property
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  1   in any respect that day, did he?

  2               A.   Other than carrying onto the property when

  3   he came in.

  4               Q.   Well, but did that result in any damage to

  5   your property?

  6               A.   No, I guess not.

  7               Q.   Now, did the workers who were on-site that

  8   day leave your property after Mr. Bensman and

  9   Mr. Sandoval left?

 10               A.   Eventually.    I don't -- I don't remember

 11   when exactly they left, but they had to -- you know,

 12   they -- like I said, they had just tapped into the water,

 13   so they had to shut it off and do everything they did.

 14                    So I --

 15               Q.   Yeah.

 16               A.   -- can't tell you how long they were

 17   there.

 18               Q.   And that was a poor question; obviously

 19   they left at some point.

 20               A.   Yeah.

 21               Q.   What I meant to ask was, did they leave

 22   immediately after Mr. Bensman and Mr. Sandoval left?

 23               A.   No.   They had to -- they had to get their

 24   equipment all together.      They were -- like I had said,

 25   they had the well tapped with their equipment, their
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  1                    Now -- yeah, that -- see, that's where

  2   La Deora comes through.      So at Farisita, looking towards

  3   where the well is, I don't know if you can see that

  4   because sometime when we're there, we're trying to find:

  5   Okay, where are the telephone posts?

  6               Q.   Yeah.     I'll ask a more precise question.

  7               A.   Okay.

  8               Q.   If a vehicle is traveling on La Deora

  9   Boulevard close to where your signage is --

 10               A.   Yes.

 11               Q.   -- do you agree that if the crane's

 12   100 feet, a person would likely be able to see that?

 13               A.   Yeah.     I don't know if it's 100.        Maybe

 14   50 feet because it wasn't as high as the telephone poles.

 15               Q.   Okay.

 16               A.   And I don't know how high they are.

 17               Q.   But even at 50 feet, you would agree that

 18   if a vehicle is there, the person occupying the vehicle

 19   would likely be able to see that crane, right?

 20               A.   I don't know if they could see it from

 21   La Deora and Farisita.      That's where Bensman was when he

 22   met up with Terry, and that's when they came down

 23   La Deora.

 24               Q.   Are you able to approximate how many feet

 25   Mr. Bensman and Mr. Sandoval parked from the wellsite?
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  1               A.   About, I don't know, 20 feet maybe.           I

  2   don't know.

  3                    I can't really -- because -- I'd have to

  4   be down there because the thing is, is that even the

  5   pictures are kind of distorted because it's like, okay, I

  6   know the -- the well and where the -- the cistern were

  7   going and everything, that was on the -- on the north

  8   side of where Terry had his vehicle, it was right there.

  9   So it wasn't that far away.

 10               Q.   Your brother-in-law who passed away, I

 11   believe you testified it was November of last year, 2024;

 12   is that right?

 13               A.   That's correct.

 14               Q.   I'm not trying to be -- I'm not trying to

 15   pry here, Ms. DeHerrera, but I am curious.

 16                    Was he ill, or was it an accident in which

 17   he passed?

 18               A.   He was ill.

 19               Q.   Okay.

 20               A.   He -- yeah, he had some -- he was on

 21   oxygen and everything.      He was ill.

 22               Q.   All right.    Had he been ill for quite

 23   some -- for a period -- a lengthy period of time before

 24   his death?

 25               A.   I don't know what his medical condition
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  1                    My question --

  2               A.   Okay.

  3               Q.   -- is, against you personally, on July 13,

  4   2021, did Mr. Bensman use physical force?

  5               A.   No.

  6               Q.   On July 13, 2021, Mr. Bensman did not

  7   enter the fifth wheel, correct?

  8               A.   No, he did not.

  9               Q.   He did not come within 10 feet of the

 10   fifth wheel, correct?

 11               A.   No.

 12               Q.   He --

 13               A.   Well --

 14               Q.   -- did not come within --

 15               A.   He --

 16               Q.   -- 20 feet of the fifth wheel, correct?

 17               A.   Yes, he did.     That's where the -- the well

 18   was.

 19               Q.   So it's your testimony that the well was

 20   located between 10 and 20 feet from --

 21               A.   No --

 22               Q.   -- the (Zoom distortion) --

 23               A.   -- not 20 feet.

 24               Q.   -- is that right?

 25               A.   About 20 feet or more from our RV.
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                                                                                                                                          Page 193
     1                I, SUSAN ~~- DaHERRERA, hereby certify
           t   hI have
                   a   t         forego~ transcript and
                                     r   e   a   d   t   h   e                                                                        t   h   a   t   t   h   e




   2       same and accaipanying                        if any,  c   o   r   r   e   c   t   i   o   n   s   h   e   e   t   s   ;




           oonsti tuta a true and cc:11plat.e record of rrr:, testin:>ny.
   3
  4        PAGE LINE                                 NOW .READS                                                                      SHOULD READ
                                    She was moving him and                                                   She was moving and asked me
  5            32          19       asked me to help him                                                     to help her
  6        40               16                   He was sneaking                                                 He was making
  7        45               14           We                                                                                  Me and Joe
               51               1
                                  ---------
                                  180 County Road 54
  8                                                                                                                  Not our address
  9        59              15         They stopped him                                                       The County stopped him

 10        61              5         Absolutely                                                                     Absolutely amazed
          69               8         plugged this in                                                             plugged the phone in
 11
                                    The license number was                                               TNe lltense number was
 12       89               22
                                    QA th8F9
                                                                                                         painted on there
         110               19                                                                                Terry's truck
 13                                The truck
                            7      taking pictures, and we                                               taking pictures, and he
 14 124.
 15 149.                   11 while they were over there                                                     while we were over there

 16 189. 19--20 which it was -it was all                                                                         which it wasn't at all

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